Case 5:24-cv-00379-SSS-SP            Document 64 Filed 11/15/24       Page 1 of 4 Page ID
                                           #:976



                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—
                                      GENERAL


 Case No.    5:24-cv-00379-SSS-SPx                              Date November 15, 2024
 Title Twenty-Nine Palms Band of Mission Indians v. Merrick Garland, et al.



 Present: The Honorable        SUNSHINE S. SYKES, UNITED STATES DISTRICT JUDGE


              Irene Vazquez                                      Not Reported
               Deputy Clerk                                      Court Reporter

    Attorney(s) Present for Plaintiff(s):             Attorney(s) Present for Defendant(s):
               None Present                                      None Present


 Proceedings: (IN CHAMBERS) ORDER GRANTING PLAINTIFF’S
              MOTION TO STRIKE EXTRA-RECORD MATERIALS
              [Dkt. 52]

      Before the Court is Plaintiff Twenty-Nine Palms Band of Mission Indians’
(“Plaintiff”) Motion to Strike Extra-Record Materials (the “Motion”) filed on June
24, 2024. [Dkt. 52]. This matter is fully briefed and ripe for review. [Dkt. 54
(Opp’n); Dkt. 55 (Reply)]. In accordance with the opinion below, the Court
GRANTS the Motion. [Dkt. 52].

       I.      BACKGROUND

      This matter arises out of Twenty-Nine Palms’ alleged violation of the Prevent
All Cigarette Trafficking (“PACT”) Act. [Dkt. 52 at 4]. On October 19, 2023, the
Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) sent the Plaintiff
correspondence informing them of their violations of the PACT Act. [Dkt. 44 at
84]. ATF further informed the Plaintiff that ATF would be placing the Tribe on the
PACT Act Non-Compliant List (the “List”) effective November 20, 2023. [Id.].
Soon thereafter, ATF notified Plaintiff that it would delay placing the Tribe on the
Non-Compliant List until December 1, 2023. [Dkt. 47-1 at 126]. Plaintiff was not
        Page 1 of 4               CIVIL MINUTES—GENERAL       Initials of Deputy Clerk iv
Case 5:24-cv-00379-SSS-SP       Document 64 Filed 11/15/24         Page 2 of 4 Page ID
                                      #:977



placed on the List on December 1, 2023, while settlement negotiations took place.
[Dkt. 54 at 19]. On January 30, 2024, ATF entered into a settlement agreement with
Plaintiff’s business partner which provided that ATF would withhold placing the
Tribe on the Non-Compliant List pending court review of a preliminary injunction.
[Dkt. 54 at 19; Dkt. 52 at 4]. Plaintiff asserts that the evidence which post-dates
October 19, 2023, should be stricken. [Dkt. 52 at 4].

      II.    LEGAL STANDARD

       Federal courts are courts of limited jurisdiction. Kokkonen v. Guardian Life
Ins. Co. of Am., 511 U.S. 375, 377 (1994). Thus, federal courts can only hear cases
if “there is a valid basis for federal jurisdiction.” Ayala v. Am. Airlines, Inc., No.
2:23-cv-03571-MEMF-MAR, 2023 WL 6534199, at *1 (C.D. Cal. Oct. 6, 2023)
(citing Richardson v. United States, 943 F.2d 1107, 1112 (9th Cir. 1991)). For a
court to have federal subject matter jurisdiction to review an agency decision under
the Administrative Procedures Act (“APA”), “a plaintiff must challenge a ‘final’
agency action.” Castaneda v. Garland, 562 F. Supp. 3d 545, 555 (C.D. Cal. 2021).

       It is “well-established that an agency’s action must be upheld, if at all, on the
basis articulated by the agency itself.” Motor Vehicle Mfrs. Ass'n of U.S., Inc. v.
State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983) (citations omitted).
Therefore, an agency action is final when “(1) the agency reaches the
‘consummation’ of its decision-making process and (2) the action determines the
‘rights and obligations’ of the parties or is one from which ‘legal consequences will
flow.’” Castaneda, 562 F. Supp. 3d 545 at 555–556. Generally, “a court reviewing
agency action under the APA must limit its review to the administrative record” that
was “in existence at the time of the decision,” San Luis & Delta-Mendota Water
Auth. v. Locke, 776 F.3d 971, 992 (9th Cir. 2014).

      III.   DISCUSSION

       Plaintiff argues that the Court should grant this Motion because ATF’s final
agency action occurred on October 19, 2023. [Dkt. 52 at 4]. Therefore, Plaintiff
asserts, any records that post-date this decision were not before the agency at the
time of the decision and should be struck from judicial consideration. [Id.]. In
response, ATF contends that the final agency action instead occurred on January 30,
2024, when ATF reached a settlement with Plaintiff that delayed the placement of
the Tribe on the Non-Compliant List pending a federal court review. [Dkt. 54 at 7].
ATF argues that settlement negotiations and ATF’s decision to delay placing
Plaintiff on the Non-Compliant List are indicative of ongoing deliberations rather
       Page 2 of 4            CIVIL MINUTES—GENERAL        Initials of Deputy Clerk iv
Case 5:24-cv-00379-SSS-SP        Document 64 Filed 11/15/24          Page 3 of 4 Page ID
                                       #:978



than a final agency action. [Id. at 19]. For the reasons set forth before, the Court
GRANTS the Motion.

        First, the Court finds that ATF’s October 19, 2023, correspondence with
Plaintiff is a clear consummation of the agency’s decision-making process. On
October 19, 2023, ATF sent Plaintiff correspondence which twice stated that “[i]n
light of the hundreds of past and present violations of the PACT Act over the course
of several years, ATF is placing 29 Palms on the PACT Act Non-Compliant List
effective November 20, 2023.” [Dkt. 44 at 84]. This letter signifies neither a
tentative agency decision, Bennett v. Spear, 520 U.S. 154, 177–178 (1997) (citations
omitted) (reasoning that an action of a tentative or interlocutory nature does not
constitute final agency action), nor does it represent an ongoing process which has
not yet concluded, San Francisco Herring Ass'n v. Dep't of the Interior, 946 F.3d
564, 575–576 (9th Cir. 2019) (reasoning that action which represented “ongoing
deliberations” does not constitute final agency action). While ATF counters that the
January 2024 settlement agreement indicates ongoing deliberations, [Dkt. 54 at 19],
ATF clearly reached a final decision in its October 19, 2024, letter even though it
left a caveat to allow for a federal court’s decision.

       Next, ATF’s October 19, 2023, decision to place Plaintiff on the Non-
Compliant List is one from which legal consequences flowed. The List established
a prohibition against receivers of the List, in addition to entities who are named on
the List, from engaging in various aspects of the cigarette delivery process, including
working with any entity on this List. Bennett, 520 U.S. 154 at 178 (requiring that
the agency action be one by which “rights or obligations have been determined”)
(citations omitted). While ATF argues that legal consequences ensued only after the
January 2024 settlement agreement because Plaintiff was not placed on the List
despite the threat, [Dkt. 54 at 7], the letter nonetheless explicitly states that Plaintiff
would be subject to the prohibitions of the List. Oregon Nat. Desert Ass'n v. U.S.
Forest Serv., 465 F.3d 977, 987 (9th Cir. 2006) (ruling that a decision must “impose
an obligation, deny a right, or fix some legal relationship” to illustrate finality). A
pragmatic approach confirms this, with the October 19, 2023, letter and succeeding
delay merely acting as a stay in enforcement rather than an interlocutory decision.
Ctr. for Biological Diversity v. Haaland, 58 F.4th 412, 417 (9th Cir. 2023) (applying
a pragmatic approach to analyzing agency actions while considering the “practical
and legal effects” of that action, not merely “labels”). As a final consideration, by
repeatedly delaying the placement of Plaintiff on the List after the October letter, the
Tribe was effectively beholden to a looming threat that ATF could impose at any
future date. Thus, the Court holds that the October 19, 2023, correspondence was a

        Page 3 of 4            CIVIL MINUTES—GENERAL         Initials of Deputy Clerk iv
Case 5:24-cv-00379-SSS-SP    Document 64 Filed 11/15/24        Page 4 of 4 Page ID
                                   #:979



final agency action, and the records at issue in this Motion were not before ATF
when the correspondence was sent.

      IV.    CONCLUSION

       In accordance with the above, the October 24, 2023, email exchange between
the California Department of Justice and ATF; the November 2 and 9, 2023, email
exchange between ATF and Twenty-Nine Palms’ counsel; and the January 30, 2024,
final settlement agreement are stricken from the record. Accordingly, Plaintiff’s
Motion to Strike is GRANTED. [Dkt. 52].

      IT IS SO ORDERED.




       Page 4 of 4          CIVIL MINUTES—GENERAL      Initials of Deputy Clerk iv
